UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

Charlottesville Division
ELIZABETH SINES, et al.,
Plaintiffs,
Case No. 3:17-cv-00072-NKM
Vv.
JASON KESSLER, et al.,
Defendants.
ANSWER AND GROUNDS OF DEFENSE
COMES NOW Defendant Richard B. Spencer, by counsel, and
states the following Answer and Grounds of Defense to the
second Amended Complaint of Plaintiff Elizabeth Sines, et al.
FIRST DEFENSE
1. Denied.
2. Defendant lacks sufficient information to admit or deny
the allegations of Paragraph 2 and, therefore, demand strict

proof thereof.

3. Denied.
4. Defendant denies the allegations of the first four
sentences of Paragraph 4. Defendant lacks sufficient

information to admit or deny the remaining allegations of
Paragraph 4 and, therefore, demands strict proof thereof.

5. Denied.
6. Defendant denies the allegations of the first sentence
of Paragraph 6. Defendant lacks sufficient information to admit
or deny the allegations of the second sentence of Paragraph 6
and, therefore, demands strict proof thereof.

7. Defendant is not required to admit or deny the
allegations of the first and second sentences of Paragraph 7
because they merely characterize the First Amended Complaint.
Defendant lacks sufficient information to admit or deny the
allegations of the third sentence of Paragraph 7 and, therefore,
demands strict proof thereof.

8. Defendant is not required to admit or deny the
allegations of Paragraph 8 because they merely state legal
conclusions.

9. Defendant is not required to admit or deny the
allegations of Paragraph 9 because they merely state legal
conclusions.

10. Defendant denies the allegations of the sixth sentence
of Paragraph 10 to the extent that they apply to him. Defendant
lacks sufficient information to admit or deny the remaining
allegations of Paragraph 10 and, therefore, demands strict proof
thereof. |

11. Defendant denies the allegations of fourth sentence of
Paragraph 11 to the extent that they apply to him. Defendant

lacks sufficient information to admit or deny the remaining
allegations of Paragraph 11 and, therefore, demands, therefore,
strict proof thereof.

12. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 12 and demands, therefore,
strict proof thereof.

13. Defendant denies any allegation that he planned the
events of August 12, 2017. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 13 and, therefore, demands strict proof thereof.

14. Defendant denies any allegation that he planned the
events of August 12, 2017. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 14 and, therefore, demands strict proof thereof.

15 Defendant denies the allegations of the last sentence
of Paragraph 15 to the extent that they apply to him. Defendant
lacks sufficient information to admit or deny the remaining
allegations of Paragraph 15 and, therefore, demands strict proof
thereof.

16. Defendant denies the allegations of the last sentence
of Paragraph 16 to the extent that they apply to him. Defendant:
lacks sufficient information to admit or deny the remaining
allegations of Paragraph 16 and, therefore, demands, therefore,

strict proof thereof.
17. Defendant denies the allegations of third sentence of
Paragraph 17 to the extent that they include any allegation that
he planned the events of August 12, 2017. Defendant lacks
sufficient information to admit or deny the remaining
allegations of Paragraph 17 and, therefore, demands strict proof
thereof.

18. Defendant denies the allegations of the third sentence
of Paragraph 18 to the extent that they include any allegation
that he planned the events of August 12, 2017. Defendant lacks
sufficient information to admit or deny the remaining
allegations of Paragraph 18 and, therefore, demands strict proof
thereof.

19. Defendant denies the allegations of the last sentence
of Paragraph 19 to the extent that they are intended to apply to
him. Defendant lacks sufficient information to admit or deny
the allegations of Paragraph 19 and, therefore, he demands
strict proof thereof.

20. Defendant is not required to admit or deny the
allegations of Paragraph 20 because they are not directed to
him. In addition, Defendant lacks sufficient information to
admit or deny the allegations of Paragraph 20 and, therefore,
demands strict proof thereof.

21. Defendant denies the following allegations of

Paragraph 21: (a) that he is a resident of the Commonwealth of
Virginia; (b) those set forth in the third sentence; (c) those
set forth in the fourth séntence; and (d) those set forth in the
fifth sentence. Defendant admits the following allegations in
Paragraph 21: (a) that he attended the University of Virginia;
(b) that he is the president of the National Policy Institute;
and (c) that he co-created “altright.com."

22. Defendant is not required to admit or deny the
allegations of Paragraph 22 because they are not directed to
him. In addition, Defendant lacks sufficient information to
admit or deny the allegations of Paragraph 22 and, therefore,
demands strict proof thereof.

23. Defendant denies those allegations in the second
sentence of Paragraph 23 that allege he was part of a
conspiracy. Defendant is not required to admit or deny the
remaining allegations of Paragraph 23 because they are not
directed to him. In addition, Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 23 and, therefore, demands strict proof thereof.

24. Defendant is not required to admit or deny the
allegations of Paragraph 24 because they are not directed to
him. In addition, Defendant lacks sufficient information to

admit or deny the allegations of Paragraph 24 and, therefore,

demands strict proof thereof.
25. Defendant is not required to admit or deny the
allegations of Paragraph 25 because they are not directed to
him. In addition, Defendant lacks sufficient information to
admit or deny the allegations of Paragraph 25 and, therefore,
demands strict proof thereof.

26. Defendant is not required to admit or deny the
allegations of Paragraph 26 because they do not apply to him.
In addition, Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 26 and, therefore, demands
strict proof thereof.

27. Defendant is not required to admit or deny the
allegations of Paragraph 27 because they are not directed to
him. In addition, Defendant lacks sufficient information to
admit or deny the allegations of Paragraph 27 and, therefore,
demands strict proof thereof.

28. Defendant is not required to admit or deny the
allegations of the first and second sentences of Paragraph 28
because they are not directed to him. In addition, Defendant
lacks sufficient information to admit or deny said allegations
of Paragraph 28 and, therefore, demands strict proof thereof.
Defendant admits the allegations of the third sentence of
Paragraph 28.

29. Defendant admits that he and Defendant Mosley co-

founded "Operation Homeland," but denies all remaining
allegations of the second sentence of Paragraph 29. Defendant
is not required to admit or deny the allegations of the first,
third, fourth and fifth sentence of Paragraph 29 because they
are not directed to him. In addition, Defendant lacks
sufficient information to admit or deny said allegations and
therefore, demands strict proof thereof.

30. Defendant denies the allegations of the last sentence
of Paragraph 30 to the extent that they apply to Defendant.
Defendant is not required to admit or deny the allegations of
the remaining allegations of Paragraph 30 because they are not
directed to him. In addition, Defendants lack sufficient
information to admit or deny the remaining allegations of
Paragraph 30 and, therefore, demand strict proof thereof.

31. Defendant is not required to admit or deny the
allegations of Paragraph 31 because they are not directed to
him. In addition, Defendant lacks sufficient information to
admit or deny the allegations of Paragraph 31 and, therefore,
demands strict proof thereof.

32. Defendant is not required to admit or deny the
allegations of Paragraph 32 because they are not directed to
him. In addition, Defendant lacks sufficient information to
admit or deny the allegations of Paragraph 32 and, therefore,

demands strict proof thereof.
33. Defendant is not required to admit or deny the
allegation of Paragraph 33 because they are not directed to him.
In addition, Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 33 and, therefore, demands
strict proof thereof.

34. Defendant is not required to admit or deny the
allegations of Paragraph 34 because they do not apply to him.
In addition, Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 34 and, therefore, demands
strict proof thereof.

35. Defendant is not required to admit or deny the
allegations of Paragraph 35 because they do not apply to him.
In addition, Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 35 and, therefore, demands
strict proof thereof.

36. Defendant denies the allegations of the last sentence
of Paragraph 36 to the extent that it might allege that he
participated in any violence. Defendant is not required to
admit or deny the remaining allegations of Paragraph 36 because
they do not apply to him. In addition, Defendant lacks
sufficient information to admit or deny the remaining

allegations of Paragraph 36 and, therefore, demands strict proof

thereof.
37. Defendant is not required to admit or deny the
allegations of Paragraph 37 because they are not directed to
him. In addition, Defendant lacks sufficient information to
admit or deny the allegations of Paragraph 37 and, therefore,
demands strict proof thereof.

38. Defendant is not required to admit or deny the
allegations of Paragraph 38 because they do not apply to him.
In addition, Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 38 and, therefore, demands
strict proof thereof.

39. Defendant is not required to admit o deny the
allegations of Paragraph 39 because they do not apply to him.
In addition, Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 39 and, therefore, demands
strict proof thereof.

40. Defendant admits that he participated in drafting the
referenced statement. Defendant is not required to admit or
deny the remaining allegations of Paragraph 40 because they do
not apply to him. In addition, Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 40 and, therefore, demands strict proof thereof.

41. Defendant is not required to admit or deny the
allegations of Paragraph 41 because they do not apply to him.

In addition, Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 41 and therefore, demands
strict proof thereof.

42. Defendant is not required to admit or deny the
allegations of Paragraph 42 because they do not apply to him.

In addition, Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 42 and, therefore, demands
strict proof thereof.

43. Defendant denies the allegations of the last sentence
of Paragraph 43 to the extent that they apply to him. Defendant
is not required to admit or deny the remaining allegations of
Paragraph 43 because they do not apply to him. In addition,
Defendant lacks sufficient information to admit or deny the
remaining allegations of Paragraph 43 and, therefore, demands
strict proof thereof.

44, Denied.

Captions I and A on page 20: Defendant denies the
allegations set forth in Caption I and Caption A on page 20.
Defendant lacks sufficient information to admit or deny the
allegation about Defendant Anglin and, therefore, demands strict
proof thereof.

45. Denied.

46. Defendant denies the allegations of the first sentence
of Paragraph 46 to the extent that they apply to him. Defendant

jacks sufficient information to admit or deny the remaining

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allegations in said sentence and, therefore, demands strict
proof thereof. Defendant admits the allegations of the second
sentence of Paragraph 46.

47. Denied.

48. Denied.

49. Defendant admits that participated in planning and
organizing the referenced event, that he participated in the
referenced rally, and that he did carry a torch. Defendant
lacks sufficient information to admit or deny the remaining
allegations of the first, second sentences and third sentences
of Paragraph 49 and, therefore, demands strict proof thereof.
Defendant is not required to admit or deny the allegations of
the fourth, fifth and sixth sentences of Paragraph 49 because
they do not constitute allegations of fact, but merely opinions.

50. Defendant denies the allegations of the first and
third sentences of Paragraph 50. Defendant lacks sufficient
information to admit or deny the allegations of the second
sentence of Paragraph 50 and, therefore, demands strict proof
thereof.

Sl. Defendant denies the allegations of Paragraph 51 to
the extent that they allege he was a conspirator. Defendant
admits the remaining allegations of Paragraph 51, except the

allegation that Defendant Kessler was on the podium.

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92. Defendant denies the allegations of the first sentence
of Paragraph 52 to the extent that they apply to him. Defendant
lacks sufficient information to admit or deny the remaining
allegations of Paragraph 52 and, therefore, demands strict proof
thereof.

53. Defendant denies that he has been a conspirator in any
matter. Defendant admits that, after the fact, persons have
referred to the events of May 13 as "Charlottesville 1.0"

54. Defendant denies the allegations of the first sentence
of Paragraph 54 to the extent that they apply to him. Defendant
admits that Defendant Kessler submitted a permit application for.
August 12, 2017. Defendant lacks sufficient information to
admit or deny the remaining allegations of Paragraph 54 and,
therefore, demands strict proof thereof.

95. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 55 (including those in the
footnote) and, therefore, demands strict proof thereof.

56. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 56 and, therefore, demands
strict proof thereof.

97. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 57 and, therefore, demands

strict proof thereof.

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58. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 58 and, therefore, demands
strict proof thereof.

Caption B at page 23: Defendant denies the allegations
contained in Caption B on page 23. Defendant lacks sufficient
information to admit or deny that Defendant Anglin made the
quoted statements and, therefore, demands strict proof thereof.

59. Denied.

60. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 60 that relate to the content
of the referenced permit application. Defendant denies the
remaining allegations of Paragraph 60.

61. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 61 and, therefore, demands
strict proof thereof.

62. Denied.

63. Defendant admits that he met with Evan McClaren at the
Trump Hotel in Washington, D.C. Defendant denies all remaining
allegations of Paragraph 63.

64. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 64 and, therefore, demands

strict proof thereof.

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65. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 65 and, therefore, demands
strict proof thereof.

66. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 66 and, therefore, demands
strict proof thereof.

67. Defendant denies the allegations of Paragraph 67 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny all remaining allegations of
Paragraph 67 and, therefore, demands strict proof thereof.

68. Defendant denies the allegations of Paragraph 68 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 68 and, therefore, demands strict proof thereof.

69. Defendant denies the allegations of the first, second
and third sentences of Paragraph 69 to the extent that they
apply to him. Defendant does not recall making the statement
alleged in the fourth sentence of Paragraph 69 and, therefore,
demands strict proof thereof. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 69 and, therefore, demands, therefore, strict proof
thereof.

70. Defendant denies the allegations of Paragraph 70 to

the extent that they apply to him. Defendant lacks sufficient

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information to admit or deny the remaining allegations of
Paragraph 70 and, therefore, demands strict proof thereof.

71. Defendant denies the allegations of Paragraph 71 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 71 and, therefore, demands strict proof thereof.

72. Defendant denies any allegation that he "moderated,
reviewed, directed and managed" the referenced forum, any
allegation that he was a "moderator" of the referenced group,
any allegation that he was a conspirator and any allegation that
he had any access to and/or used said forum due to said alleged
status. Defendant lacks sufficient information to admit or deny
the remaining allegations of Paragraph 72 and, therefore,
demands strict proof thereof.

73. Defendant denies the allegations of Paragraph 73 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 73 and, therefore, demands strict proof thereof.

74. Defendant denies the allegations of Paragraph 74 to
the extent that they apply to him, including any allegation that
he was a conspirator or used Discord. Defendant lacks
sufficient information to admit or deny the remaining
allegations of Paragraph 74 and, therefore, demands strict proof

thereof.

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75. Defendant denies any allegation that he set up any of
said channels. Defendant lacks sufficient information to admit
or deny the remaining allegations of Paragraph 75 and,
therefore, demands strict proof thereof.

76. Defendant denies the allegations of Paragraph 76 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 76 and, therefore, demands strict proof thereof.

77. Defendant denies the allegations of the first, third
and fourth sentences of Paragraph 77 to the extent they apply to
him. Defendant admits that "Caerulus Rex" has been identified
as a bodyguard of his. Defendant lacks sufficient information
to admit or deny the remaining allegations of Paragraph 77 and
demands strict proof thereof.

78. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 78 and, therefore, demands
strict proof thereof.

79. Defendant denies the allegations of Paragraph 80 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 79 and, therefore, demands strict proof thereof.

80. Defendant denies the allegations of Paragraph 80 to

the extent that they apply to him. Defendant lacks sufficient

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information to admit or deny the remaining allegations of
Paragraph 80 and, therefore, demands strict proof thereof.

81. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 81 and, therefore, demands
strict proof thereof.

82. Defendant denies any allegation in Paragraph 82 that
he was a conspirator. Defendant lacks sufficient information to
admit or deny the remaining allegations of Paragraph 82 and,
therefore, demands strict proof thereof.

83. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 83 and, therefore, demands
strict proof thereof.

84. In response to the first sentence of Paragraph 84,
Defendant: (a) admits that he participated in drafting the
referenced document; (b) admits that he posted it on
"Altright.com," and (c) states that he is not required to admit
or deny the remaining allegations of said sentence because they
merely characterize a document that speaks for itself.
Defendant admits the allegations of the second sentence of
Paragraph 84. Defendant is not required to admit or deny the
allegations of the third sentence of Paragraph 84 because they
merely characterize a document that speaks for itself.

Caption C at page 30: Defendant denies the allegations

contained in Caption C at page 30. Defendant lacks sufficient

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information to admit or deny the allegations, if any are made,
with respect to the quotation.

85. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 85 and, therefore, demands
strict proof thereof.

86. Defendant admits that an article containing the quoted
material was posted on the website “altright.com." Defendant
denies that the referenced website is his and denies any
allegation that he wrote the article. Defendant is not required
to admit or deny the remaining allegations of Paragraph 86
because they merely characterize a document that speaks for
itself.

87. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 87 and, therefore, demands
strict proof thereof.

88. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 88 and, therefore, demands
strict proof thereof.

89. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 89 and, therefore, demands
strict proof thereof.

90. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 90 and, therefore, demands

strict proof thereof.

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91. Defendant lacks sufficient information to admit or
deny the allegations of the first and second sentences of
Paragraph 91 and, therefore, demands strict proof thereof.
Defendant admits that a writer made the quoted remark on the
website "altright.com," but denies that said website is his.

92. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 92 and, therefore, demands
strict proof thereof.

93. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 93 and, therefore, demands
strict proof thereof.

94. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 94 and, therefore, demands
strict proof thereof.

95. Defendant denies the allegations of the first sentence
of Paragraph 95 to the extent that they apply to him. Defendant
lacks sufficient information to admit or deny the remaining
allegations of Paragraph 95 and, therefore, demands strict proof
thereof.

96. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 96 and, therefore, demands
strict proof thereof.

97. Defendant denies the allegations of Paragraph 97 to

the extent that they apply to him. Defendant lacks sufficient

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information to admit or deny the remaining allegations of
Paragraph 97 and, therefore, demands strict proof thereof.

98. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 98 and, therefore, demands
strict proof thereof.

99. Defendant is not required to admit or deny the
allegations of Paragraph 99 because they merely characterize a
document that speaks for itself. In addition, Defendant lacks
sufficient information to admit or deny the allegations of
Paragraph 99 and, therefore, demands strict proof thereof.

100. Defendant is not required to admit or deny the
allegations of Paragraph 100 because they merely characterize a
document that speaks for itself. In addition, Defendant lacks
sufficient information to admit or deny the allegations of
Paragraph 100 and, therefore, demands strict proof thereof.

101. Defendant denies the allegations of Paragraph 101 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 101 and, therefore, demands strict proof thereof.

102. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 102 and, therefore, demands
strict proof thereof.

103. Defendant denies the allegations of Paragraph 103 to

the extent that they apply to him. Defendant lacks sufficient

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information to admit or deny the remaining allegations of
Paragraph 103 and, therefore, demands strict proof thereof.

104. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 104 and, therefore, demands
strict proof thereof.

105. Defendant denies the allegations of Paragraph 105 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 105 and, therefore, demands strict proof thereof.

106. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 106 and, therefore, demands
strict proof thereof.

107. Defendant denies any allegation that he was a
conspirator, an organizer or "behind this" (whatever "this"
was). Defendant lacks sufficient information to admit or deny
the remaining allegations of Paragraph 107 and, therefore,
demands strict proof thereof.

108. Defendant denies the allegations of Paragraph 108 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 108 and, therefore, strict proof thereof.

109. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 109 and, therefore, demands

strict proof thereof.

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110. Defendant

deny the allegations

strict proof thereof.

1il. Defendant

deny the allegations

strict proof thereof.

112. Defendant

deny the allegations

strict proof thereof.

113. Defendant

deny the allegations

strict proof thereof.

114. Defendant

deny the allegations

strict proof thereof.

115. Defendant

deny the allegations

strict proof thereof.

116. Defendant

deny the allegations

strict proof thereof.

117. Defendant

deny the allegations

strict proof thereof.

lacks sufficient

of Paragraph 110

lacks sufficient

of Paragraph 111

lacks sufficient

of Paragraph 112

lacks sufficient

of Paragraph 113

lacks sufficient

of Paragraph 114

lacks sufficient

of Paragraph 115

lacks sufficient

of Paragraph 116

lacks sufficient

of Paragraph 117

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information to admit or
and, therefore, demands
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118. Defendant denies the allegations of Paragraph 118 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 118 and, therefore, demands strict proof thereof.

119. Defendant denies the allegations of the first, second
and third sentences of Paragraph 119 to the extent that they
apply to him. Defendant lacks sufficient information to admit
or deny the remaining allegations of said sentences and,
therefore, demands strict proof thereof. Defendant denies the
allegations in the fifth sentence, as phrased. Defendant lacks
sufficient information to admit or deny the allegations of the
sixth sentence of Paragraph 119 and, therefore, demands strict
roof thereof. Alternatively, Defendant is not required to admit
or deny the allegations of said sixth sentence because they
merely characterize a publication that speaks for itself.

120. Defendant denies the allegations of the first
sentence of Paragraph 120 to the extent that they apply to him.
Defendant lacks sufficient information to admit or deny the
remaining allegations of Paragraph 120 and, therefore, demands
strict proof thereof.

121. Defendant denies the allegations of the first
sentence of Paragraph 121 to the extent that they purport to

apply to him. Defendant lacks sufficient information to admit

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or deny the remaining allegations of Paragraph 121 and,
therefore, demands strict proof thereof.

122. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 122 and, therefore, demands
strict proof thereof. Alternatively, Defendant is not required
to admit or deny said allegations because they merely
characterize a document that speaks for itself.

Caption D at page 45: Defendant denies the allegations in
Caption D at page 45 to the extent that they purport to apply to
him.

123. Defendant denies the allegations of Paragraph 123 to
the extent that they purport to apply to him. Defendant lacks
sufficient information to admit or deny the remaining
allegations of Paragraph 123 and, therefore, demands strict
proof thereof.

124. Defendant denies the allegations of Paragraph 124 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 124 and, therefore, demands strict proof thereof,
including the allegations in footnote 8.

125. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 125 and, therefore, demands

strict proof thereof.

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126. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 126 and, therefore, demands
strict proof thereof.

127. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 127 and, therefore, demands
strict proof thereof.

128. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 128 and, therefore, demands
strict proof thereof.

129. Defendant denies the allegations of the first
sentence of Paragraph 129 to the extent that they apply to him.
Defendant lacks sufficient information to admit or deny the
remaining allegations of Paragraph 129 and, therefore, demands
strict proof thereof.

Caption E on page 47: Defendant denies the allegations of

 

Caption E on page 47 to the extent that they apply to hm.
Defendant lacks sufficient information to admit or deny the
remaining allegations of this caption and, therefore, demands
strict proof thereof.

130. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 130 and, therefore, demands

strict proof thereof.

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131. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 131 and, therefore, demands
strict proof thereof.

132. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 132 and, therefore, demands
strict proof thereof.

133. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 133 and, therefore, demands
strict proof thereof.

134. Defendant denies the allegations of Paragraph 134 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 134 and, therefore, demands strict proof thereof.

135. Defendant denies any allegation that he was a
conspirator. Defendant lacks sufficient information to admit or
deny the remaining allegations of Paragraph 135 and, therefore,
demands strict proof thereof.

136. Defendant denies the allegations of the first
sentence of Paragraph 136 to the extent that they apply to him
any allegation. Defendant lacks sufficient information to admit
or deny the remaining allegations of Paragraph 136 and,
therefore, demands strict proof thereof.

137. Defendant denies the allegations of the first and

second sentences of Paragraph 137 to the extent that they apply

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to him. Defendant lacks sufficient information to admit or deny
the remaining allegations of Paragraph 137 and, therefore,
demands strict proof thereof.

138. Defendant denies the allegations of the first
sentence of Paragraph 138 to the extent that they apply to him.
Defendant lacks sufficient information to admit or deny the
remaining allegations of this Paragraph 138 and, therefore,
demands strict proof thereof.

139. Defendant denies the allegations of the second
sentence of Paragraph 139 to the extent that they apply to him.
Defendant lacks sufficient information to admit or deny the
remaining allegations of Paragraph 139 and, therefore, demands
strict proof thereof.

140. Defendant admits the allegations of the fourth
sentence of Paragraph 140, but denies any allegation that he so
tweeted for any improper, tortious or illegal purpose.
Defendant lacks sufficient information to admit or deny the
remaining allegations of Paragraph 140 and, therefore, demands
strict proof thereof.

141. Defendant denies the allegations of the first
sentence of Paragraph 141 to the extent that they apply to him.
Defendant lacks sufficient information to admit or deny the
remaining allegations of Paragraph 141 and, therefore, demands

strict proof thereof.

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Caption II on page 51: Defendant denies the allegations in
Caption II on page 51 to the extent that they apply to him.
Defendant lacks sufficient information to admit or deny the
remaining allegations therein and, therefore, demands strict
proof thereof.

142. Defendant denies that he organized the referenced
march. Defendant lacks sufficient information to admit or deny
the remaining allegations of Paragraph 142 and, therefore,
demands strict proof thereof.

143. Defendant lacks sufficient information to admit or
deny the allegations of the first sentence of Paragraph 143 and,
therefore, demands strict proof thereof. Defendant admits that
the parade was not disclosed to the public.

144. Defendant denies the allegations of Paragraph 144 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 144 and, therefore, demands strict proof thereof.

145. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 145 and, therefore, demands
strict proof thereof.

146. Defendant denies any allegation that he was
"instructed" to do anything and any allegation that he was a

conspirator. Defendant lacks sufficient information to admit or

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deny the remaining allegations of Paragraph 146 and, therefore,
demands strict proof thereof.

147. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 147 and, therefore, demands
strict proof thereof.

148. Defendant denies the allegations of the first
sentence of Paragraph 148 to the extent that they apply to him.
Defendant lacks sufficient information to admit or deny the
remaining allegations of Paragraph 148 and, therefore, demands
strict proof thereof.

149. Defendant denies the allegations of the first, second
and third sentences of Paragraph 149 to the extent that they
apply to him. Defendant lacks sufficient information to admit
or deny the remaining allegations of Paragraph 149 and,
therefore, demands strict proof thereof.

150. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 150 and, therefore, demands
strict proof thereof.

151. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 151 and, therefore, demands
strict proof thereof.

152. Defendant admits the allegations of the last sentence
of Paragraph 152. Defendant denies he is a Neo-Nazi or white

supremacist and denies any allegation that he was a conspirator.

29
Defendant lacks sufficient information to admit or deny the
remaining allegations of Paragraph 153 and, therefore, demands
strict proof thereof.

153. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 153 and, therefore, demands
strict proof thereof.

154. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 154 and, therefore, demands
strict proof thereof.

155. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 155 and, therefore, demands
strict proof thereof.

156. Defendant denies any allegation in Paragraph 156 that
he was a conspirator. Defendant lacks sufficient information to
admit or deny the remaining allegations of Paragraph 156 and
therefore, demands strict proof thereof.

157. Defendant denies the allegations of Paragraph 157 to
the extent that they apply to him, including any allegations
that he was a conspirator or that he "intended to threaten,
intimidate and harass as many bystanders as possible."
Defendant lacks sufficient information to admit or deny the
remaining allegations of Paragraph 157 and, therefore, demands

strict proof thereof.

30
158. Defendant denies the allegations of Paragraph 158 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 158 and, therefore, demands strict proof thereof.

159. Defendant denies any allegation that he selected
guards "for their willingness to 'get physical’ with
counterprotesters." Defendant lacks sufficient information to
admit or deny the remaining allegations of Paragraph 159 and,
therefore, demands strict proof thereof.

160. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 160 (which concern alleged
observations by Plaintiffs) and, therefore, demands strict proof
thereof.

161. Defendant denies the allegations of Paragraph 161 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 161.

162. Defendant denies the allegations of Paragraph 162 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 162 and, therefore, demands strict proof thereof.

163. Defendant admits the allegations of the first
sentence of Paragraph 163. Defendant denies the allegations of

the second sentence of Paragraph 163 to the extent that they

31
apply to him. Defendant lacks sufficient information to admit
or deny the remaining allegations of Paragraph 163, as phrased,
and, therefore, demands strict proof thereof.

164. Defendant denies the allegations of the first and
second sentences of Paragraph 164 to the extent that they apply
to him Defendant lacks sufficient information to admit or deny
the remaining allegations of Paragraph 164 and, therefore,
demands strict proof thereof (except that Defendant admits that
he heard the phrases "blood and soil" and "you will not replace
us."

165. Defendant denies the allegations of the first
sentence of Paragraph 165 to the extent that they apply to him.
Defendant lacks sufficient information to admit or deny the
allegations of the second or third sentences of Paragraph 165
and, therefore, demands strict proof thereof. Defendant admits
the allegations of the last sentence of Paragraph.

166. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 166 and, therefore, demands
strict proof thereof.

167. Defendant denies the allegation of the first sentence
of Paragraph 167 to the extent that they apply to him and denies
any allegation that he was a conspirator. Defendant lacks

sufficient information to admit or deny the remaining

32
allegations of Paragraph 167 and, therefore, demands strict
proof thereof.

168. Defendant denies the allegations of the first and
third sentences of Paragraph 168 to the extent that they apply
to him. Defendant also denies that he was a conspirator.
Defendant lacks sufficient information to admit or deny the
remaining allegations of Paragraph 168 and, therefore, demands
strict proof thereof.

169. Defendant denies any allegation that he threw fuel or
tiki torches at anyone. Defendant lacks sufficient information
to admit or deny the remaining allegations of Paragraph 169
(which concern a Plaintiff's alleged observations) and,
therefore, demands strict proof thereof.

170. Defendant denies the allegations of Paragraph 170 to.
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 170 and, therefore, demands strict proof thereof.

171. Defendant denies the allegations of Paragraph 171 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 171 and, therefore, demands strict proof thereof.

172. Defendant denies the allegations of Paragraph 172 to

the extent that they apply to him. Defendant lacks sufficient

33
information to admit or deny the remaining allegations of
Paragraph 172 and, therefore, demands strict proof thereof.

173. Defendant denies any allegation that he was a
conspirator or that he sprayed mace on any person. Defendant
lacks sufficient information to admit or deny the remaining
allegations of Paragraph 173 and, therefore, demands strict
proof thereof.

174. In response to the allegations of the first sentence
of Paragraph 174, Defendant denies that he was a conspirator,
but admits the remaining allegations thereof. Defendant admits
the allegations of the second of Paragraph 174. Defendant lacks
sufficient information to admit or deny the allegations of the
third sentence of Paragraph 174 and, therefore, demands strict
proof thereof. Defendant is not required to admit or deny the
allegations of the fourth sentence of Paragraph 174 because they
merely state an opinion; to the extent that any response to said
remaining allegations is required, however, Defendant denies
them to the extent that they apply to him.

175. Defendant is not required to admit or deny the
allegations of Paragraph 175 because they merely state opinions.
To the extent that any response is required, Defendant denies
the allegations of Paragraph 175 to the extent that they apply

to him and states that, because he lacks sufficient information

34
to admit or deny said remaining allegations, he is unable to
answer them and demands strict proof thereof.

176. Defendant denies the allegations of Paragraph 176 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 176 and, therefore, demands strict proof thereof.

177. Defendant denies the allegations of Paragraph 177 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 177 and, therefore, demands strict proof thereof.

178. Defendant denies the allegations of Paragraph 178 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 178 and, therefore, demands strict proof thereof.

179. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 179 and, therefore, demands
strict proof thereof.

180. Defendant denies the allegations of Paragraph 180 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 180 and, therefore, demands strict proof thereof.

181. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 181 and, therefore, demands

strict proof thereof.

35
Caption (4) at page 60: Defendant lacks sufficient

information to admit

or deny the allegations of said caption

because they are ambiguous and, therefore, demands strict proof

thereof.
182. Defendant

deny the allegations

strict proof thereof.

183. Defendant

he was a conspirator.

lacks sufficient information to admit or

of Paragraph 182 and, therefore, demands

denies any allegation in Paragraph 183 that

Defendant admits that he that he re-

tweeted the referenced tweet by Defendant Kessler. Defendant

lacks sufficient information to admit or deny the remaining

allegations of Paragraph 183, and, therefore, demands strict

proof thereof.
184. Defendant

deny the allegations

strict proof thereof.

185. Defendant

deny the allegations

strict proof thereof.

Caption B(1) on
in said caption.
186. Defendant

the extent that they

lacks sufficient information to admit or

of Paragraph 184 and, therefore, demands

lacks sufficient information to admit or

of Paragraph 185 and, therefore, demands

page 62: Defendant denies the allegations

denies the allegations of Paragraph 186 to

apply to him. Defendant lacks sufficient

36
information to admit or deny the remaining allegations of
Paragraph 186 and, therefore, demands strict proof thereof.

187. Defendant denies the allegations of Paragraph 187 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 187 and, therefore, demands strict proof thereof.

188. Defendant denies the allegations of Paragraph 188 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 188 and, therefore, demands strict proof thereof.

189. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 189 and, therefore, demands
strict proof thereof.

190. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 190 and, therefore, demands
strict proof thereof.

191. Defendant denies the allegations of Paragraph 191 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 191 and, therefore, demands strict proof thereof.

192. Denied.

Caption (2) at page 63: Denied.

 

193. Defendant denies the allegations of Paragraph 193 to

the extent that they apply to him. Defendant lacks sufficient

37
information to admit or deny the remaining allegations of

Paragraph 193 and, therefore,

194. Defendant
deny the allegations
strict proof thereof.

195. Defendant
deny the allegations
strict proof thereof.

196. Defendant
deny the allegations
strict proof thereof.

197. Defendant
deny the allegations
strict proof thereof.

198. Defendant
deny the allegations
strict proof thereof.

199. Defendant
deny the allegations
strict proof thereof.

200. Defendant
the extent that they

information to admit

Paragraph 200 and,

therefore,

demands
lacks sufficient

of Paragraph 194

lacks sufficient

of Paragraph 195

lacks sufficient

of Paragraph 196

lacks sufficient

of Paragraph 197

lacks sufficient

of Paragraph 198

lacks sufficient

of Paragraph 199,

strict proof thereof.

information to admit or
and, therefore, demands
information to admit or
and, therefore, demands
information to admit or
and, therefore, demands
information to admit or

and, therefore, demands

information to admit or

demands

and, therefore,

information to admit or

and, therefore, demands

denies the allegations of Paragraph 200 to

apply to him.

Defendant lacks sufficient

or deny the remaining allegations of

demands

38

strict proof thereof.
201. Defendant denies the allegations of Paragraph 201 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 201 and, therefore, demands strict proof thereof.

202. Defendant denies the allegations of Paragraph 202 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 202 and, therefore, demands strict proof thereof.

203. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 203 and, therefore, demands
strict proof thereof.

204. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 204 and, therefore, strict
proof thereof.

205. Defendant denies the allegations of Paragraph 205 to.
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 205 and, therefore, demands strict proof thereof.

206. Defendant denies the allegations of Paragraph 206 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 206 and, therefore, demands strict proof thereof.

207. Defendant denies the allegations of Paragraph 207 to

the extent that they apply to him. Defendant lacks sufficient

39
information to admit or deny the remaining allegations of
Paragraph 207 and, therefore, demands strict proof thereof.
208. Defendant denies the allegations of Paragraph 208 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 208 and, therefore, demands strict proof thereof.
209. Defendant denies the allegations of Paragraph 209 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 209 and, therefore, demands strict proof thereof.
210. Defendant denies the allegations of Paragraph 210 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 210 and, therefore, demands strict proof thereof.
211. Defendant denies the allegations of Paragraph 211 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 211 and, therefore, demands strict proof thereof.
212. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 212 and, therefore, demands
strict proof thereof.
213. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 213 and, therefore, demands

strict proof thereof.

40
214. Defendant denies the allegations of Paragraph 214 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 214 and, therefore, demands strict proof thereof.

215. Defendant denies the allegations of Paragraph 215 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 215 and, therefore, demands strict proof thereof.

216. Defendant denies the allegations of Paragraph 216 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 216 and, therefore, demands strict proof thereof.

217. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 217 and, therefore, demands
strict proof thereof.

218. Defendant denies the allegations of Paragraph 218 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 218 and, therefore, demands strict proof thereof.

219. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 219 and, therefore, demands
strict proof thereof.

220. Defendant denies the allegations of Paragraph 220 to

the extent that they apply to him. Defendant lacks sufficient

41
information to admit or deny the remaining allegations of
Paragraph 220 and, therefore, demands strict proof thereof.

221. Defendant denies the allegations of Paragraph 221 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 221 and, therefore, demands strict proof thereof.

Caption (3) on page 72: Defendant denies the allegations
of said caption to the extent that they apply to him.

222. Defendant is not required to admit or deny the
allegations of Paragraph 222 to the extent that they consist of
a statement of law. Defendant admits that an unlawful assembly
was declared, but denies all remaining allegations of Paragraph
222.

223. Defendant admits that Governor McAuliffe declared a
state of emergency and made the quoted statement. Defendant
denies all remaining allegations of Paragraph 223.

224. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 224 and, therefore, demands
strict proof thereof.

225. Defendant denies the allegations of Paragraph 225 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of

Paragraph 225 and, therefore, demands strict proof thereof.

42
226. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 226 and, therefore, demands
strict proof thereof.

227. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 227 and, therefore, demands
strict proof thereof.

228. In response to the first sentence of Paragraph 228,
Defendant admits that he and former Defendant Peinovich went to
McIntire Park, but denies all remaining allegations thereof.
Defendant lacks sufficient information to admit or deny the
remaining allegations of Paragraph 228 and, therefore, demands
strict proof thereof.

229. Defendant admits that he and former Defendant
Peinovich spoke at McIntire Park, but states that he lacks
sufficient information to admit or deny the allegation that Mr.
Peinovich referred to persons as "savages" and, therefore,
demands strict proof thereof. Defendant denies all remaining
allegations of Paragraph 229.

230. Defendant denies the allegations of Paragraph 230 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the allegations of Paragraph 230

and, therefore, demands strict proof thereof.

43
231. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 231 and, therefore, demands
strict proof thereof.

232. Denied.

233. Defendant denies the allegations of Paragraph 233 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 233 and, therefore, demands strict proof thereof.

234. Defendant denies the allegations of Paragraph 234 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 234 and, therefore, demands strict proof thereof.

235. Defendant denies the allegations of Paragraph 235 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 235 and, therefore, demands strict proof thereof.

236. Defendant denies the allegations of Paragraph 236 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 236 and, therefore, demands strict proof thereof.

237. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 237 and, therefore, demands

strict proof thereof.

44
238. Defendant

deny the allegations

strict proof thereof.

239. Defendant

deny the allegations

strict proof thereof.

240. Defendant

deny the allegations

strict proof thereof.

241. Defendant

lacks sufficient

of Paragraph 238

lacks sufficient

of Paragraph 239

lacks sufficient

of Paragraph 240

information to admit or

and, therefore, demands
information to admit or
and, therefore, demands

information to admit or

and, therefore demands

denies the allegations of Paragraph 241

(including that any alleged act of Defendant Fields was "in

furtherance of" any alleged conspiracy) to the extent that they

apply to him.

Defendant lacks sufficient information to admit

or deny the remaining allegations of Paragraph 241 and,

therefore,
242. Defendant

deny the allegations

strict proof thereof.

243. Defendant

deny the allegations

strict proof thereof.

244. Defendant

deny the allegations

strict proof thereof.

lacks sufficient

of Paragraph 242

lacks sufficient

of Paragraph 243

lacks sufficient

of Paragraph 244

45

demands strict proof thereof.

information to admit or
and, therefore, demands
information to admit or
and, therefore, demands
information to admit or

and, therefore, demands
245. Defendant
deny the allegations
strict proof thereof.
246. Defendant
deny the allegations
strict proof thereof.
247. Defendant
deny the allegations
strict proof thereof.
248. Defendant
deny the allegations
strict proof thereof.
249. Defendant
deny the allegations
strict proof thereof.
250. Defendant
deny the allegations
strict proof thereof.
251. Defendant
deny the allegations
strict proof thereof.
252. Defendant
deny the allegations

strict proof thereof.

lacks sufficient

of Paragraph 245

lacks sufficient

of Paragraph 246

lacks sufficient

of Paragraph 247

lacks sufficient

of Paragraph 248

lacks sufficient

of Paragraph 249

lacks sufficient

of Paragraph 250

lacks sufficient

of Paragraph 251

lacks sufficient

of Paragraph 252

46

information to admit or
and, therefore, demands
information to admit or
and, therefore, demands
information to admit or
and, therefore, demands
information to admit or
and, therefore, demands
information to admit or
and, therefore, demands
information to admit or
and, therefore, demands
information to admit or
and, therefore, demands
information to admit or

and, therefore, demands
293. Defendant

deny the allegations

strict proof thereof.

254. Defendant

deny the allegations

strict proof thereof.

255. Defendant

deny the allegations

strict proof thereof.

256. Defendant

deny the allegations

strict proof thereof.

257. Defendant

deny the allegations

strict proof thereof.

258. Defendant

deny the allegations

strict proof thereof.

259. Defendant

the extent that they

lacks sufficient

of Paragraph 253

lacks sufficient

of Paragraph 254

lacks sufficient

of Paragraph 255

lacks sufficient

of Paragraph 256

lacks sufficient

of Paragraph 257

lacks sufficient

of Paragraph 258

denies the allegations of Paragraph 259 to |

apply to him.

information to admit or

and, therefore, demands

information to admit or
and, therefore, demands
information to admit or

and, therefore, demands

information to admit or
and, therefore, demands
information to admit or
and, therefore, demands
information to admit or

and, therefore, demands

Defendant lacks

sufficient information to admit or deny the remaining

allegations of Paragraph 259 and, therefore,

proof thereof.

47

demands strict
260. Defendant admits the allegations of the first
sentence of Paragraph 260, except that he denies any allegation
about the time of the referenced tweet. Defendant lacks
sufficient information to admit or deny the remaining
allegations of Paragraph 260 and, therefore, demands strict
proof thereof.

261. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 261 and, therefore, demands
strict proof thereof.

Caption (5) on page 83: Denied.

262. Defendant denies the allegations of Paragraph 262 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 262 and, therefore, demands strict proof thereof.

263. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 263 (including those in
footnote 11) and, therefore, demands strict proof thereof.

264. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 264 and, therefore, demands
strict proof thereof.

265. Defendant lacks sufficient information to admit or

deny the allegations of Paragraph 265 and, therefore, demands

strict proof thereof.

48
266. Defendant

deny the allegations

strict proof thereof.

267. Defendant

deny the allegations

strict proof thereof.

268. Defendant

deny the allegations

strict proof thereof.

269. Defendant

deny the allegations

strict proof thereof.

270. Defendant

deny the allegations

strict proof thereof.

271. Defendant

deny the allegations

strict proof thereof.

272. Defendant

deny the allegations

strict proof thereof.

273. Defendant

referenced in the first sentence of Paragraph 273.

lacks sufficient

of Paragraph 266

lacks sufficient

of Paragraph 267

lacks sufficient

of Paragraph 268

lacks sufficient

of Paragraph 269

lacks sufficient

of Paragraph 270

lacks sufficient

of Paragraph 271

lacks sufficient

of Paragraph 272

information to admit or

and, therefore, demands
information to admit or
and, therefore, demands

information to admit or

and, therefore, demands

information to admit or
and, therefore, demands
information to admit or

and, therefore, demands
information to admit or
and, therefore, demands

information to admit or

and, therefore, demands

admits that he made the statement

Defendant

lacks sufficient information to admit or deny the remaining

49
allegations of Paragraph 273 and, therefore, demands strict
proof thereof.

274. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 274 and, therefore, demands
strict proof thereof.

275. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 275 and, therefore, demands
strict proof thereof.

276. Defendant denies the allegations of Paragraph 276 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 276 and, therefore, demands strict proof thereof.

277. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 277 and, therefore, demands
strict proof thereof.

Caption III on page 89: Denied.

Captions (A) and 1) on page 89: Denied.

278. Defendant denies the allegations of Paragraph 278 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 278 and, therefore, demands strict proof thereof.

279. Defendant denies the allegations of Paragraph 279 to

the extent that they apply to him. Defendant lacks sufficient

50
information to admit or deny the remaining allegations of
Paragraph 279 and, therefore, demands strict proof thereof.

280. Defendant denies the allegations of Paragraph 280 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 280 and, therefore, demands strict proof thereof.

281. Defendant denies the allegations of Paragraph 281 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 281 and, therefore, demands strict proof thereof.

282. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 282 and, therefore, demands
strict proof thereof.

Caption (2) on page 90: Defendant lacks sufficient
information to admit or deny the allegations of said caption
and, therefore, demands strict proof thereof.

283. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 283 and, therefore, demands
strict proof thereof.

284. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 284 and, therefore, demands

strict proof thereof.

51
285. Defendant

deny the allegations

strict proof thereof.

286. Defendant

deny the allegations

strict proof thereof.

287. Defendant

deny the allegations

strict proof thereof.

288. Defendant

deny the allegations

strict proof thereof.

289. Defendant

deny the allegations

strict proof thereof.

290. Defendant

deny the allegations

strict proof thereof.

291. Defendant

deny the allegations

strict proof thereof.

292. Defendant

deny the allegations

strict proof thereof.

lacks sufficient

of Paragraph 285

lacks sufficient

of Paragraph 286

lacks sufficient

of Paragraph 287

lacks sufficient

of Paragraph 288

lacks sufficient

of Paragraph 289

lacks sufficient

of Paragraph 290

lacks sufficient

of Paragraph 291

lacks sufficient

of Paragraph 292

52

information to admit or
and, therefore, demands
information to admit or

and, therefore, demands

information to admit or

and, therefore, demands

information to admit or
and, therefore, demands
information to admit or
and, therefore, demands
information to admit or
and, therefore, demands
information to admit or
and, therefore, demands
information to admit or

and, therefore, demands
293. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 293 and, therefore, demands
strict proof thereof.

294. Defendant deniés the allegations of Paragraph 294 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 294 and, therefore, demands strict proof thereof.

Caption (B) on page 96: Denied.

 

295. Defendant denies the allegations of Paragraph 295, as
phrased, to the extent that they apply to him. Defendant lacks
sufficient information to admit or deny the remaining
allegations of Paragraph 295 and, therefore, demands strict
proof thereof.

296. Admitted.

297. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 297 and, therefore, demands
strict proof thereof.

298. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 298 and, therefore, demands
strict proof thereof.

299. Defendant admits the allegations of the first
sentence of Paragraph 299. Defendant lacks sufficient

information to admit or deny the remaining allegations of

Paragraph 299 and, therefore, demands strict proof thereof.

53
300. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 300 and, therefore, demands
strict proof thereof.

301. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 301 and, therefore, demands
strict proof thereof.

302. Defendant denies the allegations of the first
sentence to the extent that they apply to him. Defendant lacks
sufficient information to admit or deny the remaining
allegations of Paragraph 302 and, therefore, demands strict
proof thereof.

303. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 303 and, therefore, demands
strict proof thereof.

304. Defendant admits that the referenced person published
to referenced article, which speaks for itself. Defendant
denies all remaining allegations of Paragraph 304 to the extent
that they apply to him.

305. Defendant denies any allegation in Paragraph 305 that
he was a conspirator, that he has encouraged or condoned or does
condone any tortious or illegal act or acts. Defendant admits
that he was in Charlottesville that day, that he was at an event
that has been called "Charlottesville 3.0," that he carried a

torch, that he did say "we will be back." Defendant lack

54
sufficient information to admit or deny the remaining
allegations of Paragraph 305 and, therefore, demands strict
proof thereof.

306. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 306 and, therefore, demands
strict proof thereof.

Caption (C) on page 98: Denied.

 

307. Defendant denies the allegations of Paragraph 307 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 307 and, therefore, demands strict proof thereof.

308. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 308 and, therefore, demands
strict proof thereof.

309. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 309 and, therefore, demands
strict proof thereof.

310. Defendant admits the allegations of the first
sentence of Paragraph 310. Defendant admits that he appeared
with Messrs. Mosley and Damigo on the referenced program, but
denies that he solicited donations.

311. Denied.

312. Denied.

313. Denied.

55
314.

Defendant admits that he met Mr.

McLaren,

all remaining allegations of Paragraph 314.

315. Defendant

deny the allegations

strict proof thereof.

316. Defendant

deny the allegations

strict proof thereof.

317. Defendant

deny the allegations

strict proof thereof.

318. Defendant

deny the allegations

strict proof thereof.

319. Defendant

deny the allegations

strict proof thereof.

320. Defendant

deny the allegations

strict proof thereof.

321. Defendant

deny the allegations

strict proof thereof.

lacks sufficient

of Paragraph 315

lacks sufficient

of Paragraph 316

lacks sufficient

of Paragraph 317

lacks sufficient

of Paragraph 318

lacks sufficient

of Paragraph 319

lacks sufficient

of Paragraph 320

lacks sufficient

of Paragraph 321

56

information to admit or

and, therefore, demands
information to admit or
and, therefore, demands

information to admit or

and, therefore, demands
information to admit or
and, therefore, demands
information to admit or
and, therefore, demands
information to admit or
and, therefore, demands

information to admit or

and, therefore, demands

but denies
322. Defendant denies the allegations of Paragraph 322 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the allegations of Paragraph 322
and, therefore, demands strict proof thereof.

323. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 323 and, therefore, demands
strict proof thereof.

324. Defendant denies the allegations of Paragraph 324 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 324 and, therefore, demands strict proof thereof.

325. Defendant denies the allegations of Paragraph 325 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 325 and, therefore, demands strict proof thereof.

326. Defendant admits that an image of him was shown on an
advertising poster.

327. Defendant denies the allegations of Paragraph 327 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 327 and, therefore, demands strict proof thereof.

328. Defendant admits that the referenced persons
"attended and participated" in a torchlight parade, but denies

all remaining allegations of Paragraph 328.

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329. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 329 and, therefore, demands
strict proof thereof.

330. Defendant denies the allegations of Paragraph 330 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 330 and, therefore, demands strict proof thereof.

331. In response to the first sentence of Paragraph 331,
Defendant admits that he attended and participated in some
aspect of the rally on August 12, but denies all remaining
allegation of said sentence. Defendant lacks sufficient
information to admit or deny the allegations of the second
sentence of Paragraph 331 and, therefore, demands strict proof
thereof.

332. Defendant denies the allegations of Paragraph 332 to
the extent that they apply to him. Defendant lack sufficient
information to admit or deny the remaining allegations of
Paragraph 332 and, therefore, demands strict proof thereof.

333. Defendant denies the allegations of Paragraph 333 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of

Paragraph 333 and, therefore, demands strict proof thereof.

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334. Defendant lacks sufficient information to admit or
deny the allegations of Paragraph 334 and, therefore, demands
strict proof thereof.

335. Defendant incorporates herein by reference his
responses to Paragraphs 1 through 334 of the Second Amended
Complaint as if said responses were fully set forth herein.

336. Defendant is not required to admit or deny the
allegations of Paragraph 336 because they merely characterize a
document that speaks for itself, i.e., the Second Amended
Complaint. To the extent that any response is required,
Defendant states as follows: (a) he incorporates his responses
to all earlier allegations; and (b) states that Ms. Pearce did
to seek and was not granted leave to amend the First Amended
Complaint or to be added as a plaintiff.

337. Denied.

338. Denied.

339. Denied.

340. Denied.

341. Denied.

342. Denied, including with respect to the allegation
that, pursuant to the 13th Amendment to the United States
Constitution, Plaintiffs have "rights to be free of the badges
and incidents of slavery." Absent enactment by Congress of

legislation under Section 2 of the 13th Amendment by which the

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Congress bans some badge or incident of slavery, there is no
civilly enforceable right to be free or such a badge or incident
and, therefore, no cause of action exists under 42 U.S.C.
Section 1985(3) or 42 U.S.C. Section 1986.

343. Denied.

344. Defendant incorporates herein by reference his
responses to Paragraphs 1 through 343 of the First Amended
Complaint as if said responses were fully set forth herein.

345, Defendant is not required to admit or deny the
allegations of Paragraph 345 because they merely characterize a
document that speaks for itself, i.e., the Second Amended
Complaint. To the extent that any response is required,
Defendant states as follows (a) he incorporates herein by
reference his responses to the earlier allegations of the Second
Amended Complaint; and (b) states that Plaintiff Pearce did not
seek and was not granted leave to amend the First Amended
Complaint or to be added as a plaintiff.

346. Denied.

347. Denied.

348. Denied.

349. Denied.

350. Denied.

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351. Defendant incorporates herein by reference his
responses to Paragraphs 1 through 350 of the Second Amended
Complaint as if said responses were fully set forth herein.

352. Defendant is not required to admit or deny the
allegations of Paragraph 352 because they merely characterize a
document that speaks for itself, i.e., the Second Amended
Complaint. To the extent that any response is required,
Defendant states as follows: (a) he incorporates herein by
reference his responses to the earlier allegations in the Second
Amended Complaint; and (b) he states that Plaintiff Pearce did
not seek and was not granted leave to amend the First Amended
Complaint or leave to be added as a plaintiff.

353. Denied.

354. Denied.

355. Denied.

356. Defendant incorporates herein by reference his
responses to Paragraphs 1 through 355 of the Second Amended
Complaint as if said responses were fully set forth herein.

357 through 363. Defendant is not required to admit or
deny the allegations of Paragraphs 357 through 363 because they
are not directed to him. If, however, any response is required
Defendant states as follows: (a) he lacks sufficient information
to admit or deny the factual allegations of said paragraphs and,

therefore, demands strict proof thereof; and (b) he is not

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required to admit or deny the remaining allegations because they
merely constitute statements of law.

364. Defendant incorporates herein by reference his
response to Paragraphs 1 through 363 of the Second Amended
Complaint as if said responses were fully set forth herein.

365. Defendant is not required to admit or deny the
allegations of Paragraph 365 because they merely state a legal
conclusion.

366. Defendant denies the allegations of Paragraph 366 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations of
Paragraph 366 and, therefore, demands strict proof thereof.

367. Defendant denies the allegations of Paragraph 367 to
the extent that they are directed to him. Defendant lacks
sufficient information to admit or deny the remaining
allegations of Paragraph 367 and, therefore, demands strict
proof thereof.

368. Defendant incorporates herein by reference his
responses to Paragraphs 1 through 367 of the Second Amended
Complaint as if said responses were fully set forth herein.

369. Defendant denies the allegations in Paragraph 369 to
the extent that they apply to him. Defendant lacks sufficient
information to admit or deny the remaining allegations Paragraph

369 and, therefore, demands strict proof thereof.

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370. Defendant incorporates herein by reference his
responses to Paragraphs 1 through 369 of the Second Amended
Complaint as if said responses were fully set forth herein.

371. Defendant is not required to admit or deny the
allegations of Paragraph 371 because they are not directed to
him.

372. Defendant is not required to admit or deny the
allegations of Paragraph 372 because they are not directed to
him.

373 through 377. No response to said Paragraphs is
required because they do not allege facts. Notwithstanding said
reservation, but without waiving it, Defendant denies Plaintiffs
are entitled to any of the relief requested.

SECOND DEFENSE

378. The Second Amended Complaint fails to state a claim
for which relief can be granted, in part, because:

a. Plaintiffs do not allege the violation of any right
protected against infringement by private actors.

b. The United States Congress has not enacted any
legislation proscribing, or creating a private cause of action
with respect to, the putative badges and incidents of slavery
alleged herein (such as a putative right to be free of racially
motivated violence).

c. Those Plaintiffs who are not African-

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American do not have any rights under the 13th Amendment to the
United States Constitution to be free from alleged badges and
incidents of slavery.

d. Section 8.01-42.1, Code of Virginia, is overly broad
and unduly vague and, therefore, violates the 1st, 5th and 14th
Amendments to the United States Constitution and Article I,
Sections 11 and 12 of the Constitution of Virginia.

e. Plaintiffs have not adequately pleaded either statutory
conspiracy under Section 1985(3) or common law conspiracy under
Virginia law.

f. Defendant incorporates herein by reference the
arguments that he set forth in his earlier Motion to Dismiss and
that he stated in oral argument thereon.

THIRD DEFENSE
379. Any allegation not expressly and unequivocally
admitted herein is hereby denied.
FOURTH DEFENSE
380. Defendant did not conspire with any person.
FIFTH DEFENSE

381. Defendant did not engage in any tortious or illegal
acts; Defendant did not encourage or incite any tortious or
illegal acts; and Defendant did not conspire to effect the

commission of any tortious or illegal acts.

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SIXTH DEFENSE
382. All alleged statements by Defendant are forms of
speech protected under the lst and 14th Amendments to the United
States Constitution and under Article I, Section 12 of the
Constitution of Virginia.
SEVENTH DEFENSE
383. Any communications, including meetings, between
Defendant and any other alleged conspirator are forms of
association protected under the lst and 14th Amendments to the
United States Constitution and Article I, Section 12 of the
Constitution of Virginia.
EIGHTH DEFENSE
384. Defendant did not know of any alleged wrongs about to
be committed pursuant to the alleged conspiracies.
NINTH DEFENSE
385. Defendant did not have the power to prevent or aid in
the prevention of any alleged wrongs about to be committed
pursuant to the alleged conspiracies.
TENTH DEFENSE
386. Defendant did not have the power to prevent or aid in
the prevention and/or termination of the alleged conspiracies.
ELEVENTH DEFENSE
387. Plaintiffs assumed the risk of the injuries of which

they complain and, therefore, their claims are barred.

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TWELFTH DEFENSE
388. Plaintiffs were contributorily negligent and,
therefore, their claims are barred.

THIRTEENTH DEFENSE

 

389. Any injuries allegedly sustained by Plaintiffs were
proximately caused by persons other than Defendant and over whom
Defendant had no control or for whom Defendant does not have any
legal responsibility (such as Plaintiffs themselves, Defendant
Fields and/or one or more law enforcement agencies). On or more
of said other causes constitute(s) a superseding cause.

FOURTEENTH DEFENSE

 

390. Any alleged injuries to Plaintiffs are not as severe
or extensive as alleged by Plaintiffs.

FIFTEENTH DEFENSE

 

391. One or more causes of injury to Plaintiffs and/or
injuries to Plaintiffs were not reasonably foreseeable by

Defendant.

SIXTEENTH DEFENSE

 

392. The alleged acts of Defendant Fields were not
reasonably foreseeable by Defendant.

SEVENTEENTH DEFENSE

 

393. Any alleged acts of Defendant Fields and any acts of
violence other than those in self-defense were not objects of

any alleged conspiracy.

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EIGHTEENTH DEFENSE

 

394. Any injunctive relief against Defendant would
constitute an unconstitutional prior restraint on protected
speech and/or association.

NINETEENTH DEFENSE

 

395. Defendant reserves the right to assert any other
defense, whether affirmative or otherwise, and herby notifies
Plaintiffs that he will invoke any other defense supported by
the facts, whether now know or adduced in discovery and/or at
trial.

WHEREFORE, the premises considered, Defendant Richard B.
Spencer requests the following relief:

a. entry of a judgment in favor of Defendant against each
Plaintiff and dismissal of the Second Amended Complaint with
prejudice;

b. an award of all taxable costs; and

c. an award of such other or further relief as this Court
might deem just and proper.

Respectfully submitted,

RICHARD B. SPENCER

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CERTIFICATE OF SERVICE

 

I hereby certify that, on September 40, 2019 I filed the
foregoing Answer and Grounds of Defense with the Clerk of Court
through the CM/ECF system, which will send a notice of
electronic filing of this pleading to all counsel of record,
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I also certify that I e-mailed a copy to the following
persons who do not have counsel of record:

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